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                       United States District Court
                        WESTERN DISTRICT OF TENNESSEE
                               Eastern Division


                          JUDGMENT IN A CIVIL CASE




GEORGE E. THORNTON,

Plaintiff,

                                               CASE NUMBER: 1:11-cv-1338-JDB-egb


v.

UNION INSURANCE COMPANY,

Defendant,


Decision by Court. This action came before the Court and the issues have been
considered and a decision has been rendered.

       IT IS ORDERED AND ADJUDGED that in accordance with the Stipulation
entered in the above-styled matter on 10/3/2012, this case is hereby dismissed with
prejudice.


APPROVED:
                                                     s/J. Daniel Breen
                                                     United States District Judge
THOMAS M. GOULD
CLERK

BY: s/ Evelyn Cheairs
DEPUTY CLERK
